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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
____________________________________
                                    )
UNITED STATES OF AMERICA,           )
                                    )
      v.                            )                 Crim. Action No. 19-0018 (ABJ)
                                    )
ROGER J. STONE, JR.,                )
                                    )
                  Defendant.        )
                                    )
____________________________________)


                                             ORDER

        Defendant’s motion asking the Court to order the Office of the Special Counsel (“OSC”)

to show cause why it did not violate the order sealing the indictment in this case will be denied.

The exhibits defendant attached to his motion supplied no reason to believe that any contempt of

court had occurred, and the record as a whole, including defendant’s motion and exhibits (“Def.’s

Mot.”) [Dkt. # 31], the government’s response (“Gov’t Resp.”) [Dkt. # 44], defendant’s reply to

the government’s response [Dkt. # 45] (“Def.’s Reply”), and the government’s response to the

Court’s minute order dated February 22, 2019 and the exhibits attached thereto [Dkt. # 46] (“Gov’t

Notice”), demonstrates that there is no basis for the issuance of the requested order.

       It is important to note that it was the OSC that asked that the indictment, which ordinarily

would have been a public document from the start, be sealed in the first place. On January 24,

2019, the grand jury returned the indictment in this case. Indictment [Dkt. # 1]. At that time, the

Office of Special Counsel asked the court to keep the indictment under seal on its docket for a

short period of time: until the defendant could be placed under arrest. See Mot. for Sealing of the

Indictment, Warrants, the Instant Mot. and to Delay Entry on the Public Docket of the Filing of



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this Mot. to Seal and All Related Matters [Dkt. # 2] (“Mot. to Seal Case”). The prosecution

advanced one reason for seeking the order:

               Law enforcement believes that publicity resulting from disclosure of the
               Indictment and related materials on the public record prior to arrest will
               increase the risk of the defendant fleeing and destroying (or tampering with)
               evidence. It is therefore essential that any information concerning the
               pending indictment in this district be kept sealed prior to the defendant’s
               arrest.

               Accordingly, the government submits that under Washington Post v.
               Robinson, 935 F.2d 282, 289 n.10 (D.C. Cir. 1991), these facts present an
               extraordinary situation and a compelling governmental interest that justifies
               not only the sealing of the Indictment and all other pleadings, warrants,
               records, and files in this case, but also a short delay in the public docketing
               of these sealed pleadings and the accompanying order until the defendant’s
               arrest.

Mot. to Seal Case at 1–2.

       The Magistrate Judge assigned to the matter at the time granted the motion and ordered

“that the Indictment, Warrant, the Instant Motion and the entry on the public docket of the filings

. . . be delayed until the defendant named in the Indictment is in custody, at which time the

foregoing materials shall be unsealed.” Order, Jan. 24, 2019 [Dkt. # 3]. The government was

further ordered to inform the Court as soon as the defendant was in custody so that the documents

could be unsealed and entered on the public docket. Id. In other words, the court ordered the OSC

to let it know as soon as the indictment could be unsealed on its docket.

       The defendant was arrested the next day at 6:06 a.m. See Gov’t Notice. This is not

disputed. See Def.’s Mot. at 2 (“The FBI arrested Roger Stone at 6:06 a.m. on January 25, 2019.”);

see also Def.’s Timeline for the Morning of January 25, 2019, Ex. 4 to Def.’s Mot. [Dkt. # 31-4]

(“Def.’s Timeline”).

       After receiving confirmation of the defendant’s arrest, OSC made the fact of defendant’s

indictment and arrest public. A copy of the indictment was posted on the Department of Justice

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website, and at 6:16 a.m., an email was transmitted to the press by the spokesperson for the Special

Counsel’s Office. Email of Jan. 25, 2019, Ex. C to Gov’t Notice [Dkt. # 46-3]. It stated that

defendant had been arrested, and it provided a link to the website where the court documents could

be found. Id. Thus, according to even the defendant’s own timeline, the indictment was not

disseminated to the public until after the defendant had been arrested, and the sole basis for OSC’s

request that it be sealed on the public docket had evaporated. Therefore, while it appears that a

news crew was indeed already at the house before the FBI arrived, there is nothing in the record

to substantiate the central allegation in defendant’s motion that “a news crew knew the time and

place of the arrest . . . having been provided with an unfiled, draft copy of the indictment the Court

had ordered sealed.” Def.’s Mot. at 3. 1 Thus, no hearing on a motion to show cause is necessary.




1        The motion and the timeline represent that a reporter called counsel for the defendant at
6:11 a.m. to inform him that defendant had been arrested before counsel had even been contacted
by his client. There is no evidence provided to support this assertion, but assuming it is accurate,
the call was placed after the defendant had already been arrested and walked outside. See Def.’s
Timeline. Exhibit 1 to defendant’s motion reflects that a reporter sent a text message to counsel
further discussing the fact of defendant’s arrest at 6:13 a.m., and it was at some unidentified point
later in the text exchange that the reporter stated, “[w]e got a press release from SCO.” Ex. 1 to
Def.’s Mot. [Dkt. # 31-1]. (Exhibit C to the Government’s Notice reflects that the press release
was emailed at 6:16 a.m. Email of Jan. 25, 2019, Ex. C to Gov’t Notice [Dkt. # 46-3].) Thereafter,
the reporter attached a link to the indictment that had been posted on www.justice.gov. Ex. 1 to
Def.’s Mot. Defendant’s motion states that the indictment was transmitted by the reporter at
6:22 a.m., Def.’s Mot. at 2, but the precise time is not evident from the text exchange. In any
event, defendant’s recitation of the events reflects nothing more than the fact that the reporter had
the indictment in hand after the defendant was arrested, and there is no evidence that the reporter
had it earlier.
         Defendant’s Exhibit 2 is the copy of the indictment transmitted to counsel by the reporter.
Ex. 2 to Def.’s Mot. [Dkt. # 31-2]. Defendant calls it a “draft” since it is unsigned, and makes the
unremarkable observation that the metadata related to this document generated by the OSC
suggests that it was created by an attorney working for the OSC. See Def.’s Mot. at 2. But that
does not demonstrate that the reporter received an advance copy. It was also an unsigned version
that was posted on the Department of Justice website and made publicly available at 6:11:45 that
morning. See https://www.justice.gov/file/1124706/download; Ex. B to Gov’t Notice [Dkt.
# 46-2]. (The Court’s docket reflects that the document originally filed as Dkt. # 1 on January 24,
2019, the indictment, was replaced on January 25 with a signed copy.)
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       Defendant appears to have recognized this after his motion was filed, and so in his reply,

he emphasizes a different ground for his allegation that the OSC violated a court order: the fact

that it published the indictment before the order unsealing the indictment on the court’s docket had

been entered. See Def.’s Reply; see also Gov’t Resp. at 2 (“At approximately 6:00AM on January

25, 2019, Special Agents with the Federal Bureau of Investigation arrested Stone at his residence

in Florida. By 6:10AM, Special Agents had taken Stone into custody. Per Judge Robinson’s order,

the indictment was unsealed at that time. Consistent with its regular practice, within a few minutes

of receiving confirmation of the defendant’s arrest, the Special Counsel’s Office (“SCO”) posted

the charging document on the SCO website and notified press outlets of the arrest and that the

indictment was available online. . . . Once the Clerk’s Office opened later that morning and the

Court was notified of the arrest, the indictment was entered onto the public docket and a copy of

the docketed indictment was made available to the public via PACER.”).

       The defendant misapprehends the clear purpose and the intent of the sealing order. The

OSC’s publication of the indictment after the defendant’s arrest was not unauthorized, and the

Court concludes that no order to show cause is warranted in this case based on these facts.

Accordingly, defendant’s motion [Dkt. # 31] is DENIED.




                                              AMY BERMAN JACKSON
                                              United States District Judge

DATE: February 27, 2019




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